               IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF MISSOURI
                            SOUTHERN DIVISION


UNITED STATES OF AMERICA,                      )
                                               )
               Plaintiff,                      )
                                               )       Case No. 17-3107-01-CR-S-MDH
vs.                                            )
                                               )
                                               )
EDDIE W. SMITH,                                )
                                               )
               Defendant.                      )


                  DEFENDANT’S SENTENCING MEMORANDUM

       COMES NOW, Defendant Eddie Smith, by his undersigned counsel Shane P.

Cantin, and respectfully sets forth the following to assist the Court in fashioning that is

sufficient but not greater than necessary to achieve a just and fair result.

                                      SUGGESTIONS

       During plea discussions with the government, counsel for Mr. Smith and counsel

for the government incorrectly calculated the offense level applicable to this case by

assuming a base offense level of 6. This incorrect offense level was included in Mr.

Smith’s written plea agreement. Based upon those incorrect assumptions, with a criminal

history score of III, counsel, Mr. Smith, and counsel for the government agreed that the

guideline recommended sentence would be 2-8 months.

       Mr. Smith is almost 59 years of age. He has been incarcerated in the Federal

Bureau of Prisons since 2005. Prior to his transport back to Springfield to face this

indictment, Mr. Smith had an anticipated release date of June 12, 2018. As reflected in

the presentence report, Mr. Smith has a long list of serious medical conditions which



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require near constant attention, and which will likely require increasingly frequent

medical care and medication. At the time of this offense, Mr. Smith was prescribed a very

large daily amount of morphine, both long acting and short acting, for his pain relief. Mr.

Smith believed that while he did need morphine for pain, the amount of morphine he was

receiving at that time was too great. Mr. Smith believed that if he were to complain about

the amount of morphine prescribed, or if he were to refuse to take the entire quantity

prescribed, his pain medication would be discontinued. It is counsel’s experience from

20+ years of working with clients in the federal system, that in the Bureau of Prisons an

inmate has no voice in how much or how little medication is prescribed, and virtually any

questioning of that prescription results in it being discontinued. Once a medication is

discontinued, it takes weeks or longer for an inmate to go through the administrative

request process of trying to get the medication started again.

       As set forth in his objections to the presentence report, Mr. Smith’s main purpose

for keeping a quantity of morphine was so that he could self-regulate his pain medication

in the event that it was discontinued or changed in a way that he felt was not adequate to

meet his needs. While Mr. Smith does admit through his guilty plea that he did intend to

distribute quantities of morphine, those quantities were relatively small and that intent

was secondary to self-managing his pain relief. Distribution of contraband items between

inmates is often for items like stamps or food items, all of which operates as a form of

currency between inmates. Without negating the illegal aspect of Mr. Smith’s conduct,

these distinctions should be of some importance to the Court in fashioning an appropriate

sentence.




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       As a result of his conduct at the USMCFP, Mr. Smith was removed from

Springfield, and relocated to the USP at Terre Haute, Indiana. After this indictment, he

has been housed locally at Greene County Jail, and for several months at the St. Clair

County Jail. At both facilities, Mr. Smith believes that he has received far from adequate

medical care. It is counsel’s understanding that Mr. Smith has been removed from all

narcotic pain medication, and that as a result he has been in near constant pain.

       Mr. Smith has no surviving family. He has no meaningful job skills, but even if he

did, his medical conditions and physical limitations will keep him from maintaining any

employment. Mr. Smith has no other sources of income, he has no place to live, and has

no one to call or rely upon for assistance. As a result, when Mr. Smith is eventually

released to supervision, he will need significant assistance to locate and secure

appropriate community resources through which to establish his life outside of prison to

include housing, medical care, financial assistance, etc.

       Under the circumstances of this offense, and given Mr. Smith’s age and

characteristics, the most appropriate sentence in this case would be to fashion a sentence

that varies from the recommended guideline range suggested by the presentence report,

consistent with the sentencing range anticipated by the parties, concurrent with his

remaining undischarged sentence, and that would allow Mr. Smith to be released to

community confinement for a sufficient period of time to allow him to establish a way to

live outside of prison. Counsel for the government agrees that a sentence within the range

of 2-8 months concurrent with his existing sentence, as originally anticipated by the

written plea agreement, is appropriate. Mr. Smith respectfully requests that the Court

fashion a sentence that will allow for his release from incarceration, but which will allow




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him sufficient time in a community confinement setting to satisfy both the need for

punishment, and the need to find sufficient resources for him to be able to survive outside

of prison.

       WHEREFORE, counsel respectfully requests that the Court grant the relief

requested herein and for such other orders as the Court deems appropriate.

                                             Respectfully submitted,

                                             By: /s/ Shane P. Cantin

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                             CERTIFICATE OF SERVICE

       Counsel hereby certifies that the foregoing document was filed electronically
through the Court ECF system on the 19th day of June, 2018, with notice given to all
authorized parties of record.


                                             /s/ Shane P. Cantin




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